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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                          Criminal No. 22-cr-174 (NEB/ECW)

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                     ORDER OF DETENTION
          v.

 (1) MIGUEL ANGEL ROSAS-
 BARRIENTOS,

                        Defendant.


         This matter came before the Court on August 12, 2022, for an initial appearance.

Mr. Rosas-Barrientos appeared and was represented by Jean Brandl of the Federal

Defender’s Office. The United States was represented by Assistant United States Attorney

Ruth Shnider. The United States moved to have Mr. Rosas-Barrientos detained pending

trial.

         The Court had before it the bond report prepared by the Pretrial Services Office and

the Indictment in this matter. At the initial appearance, Mr. Rosas-Barrientos stated that

he wished to waive his right to a detention hearing at the present time.

                                     FINDINGS OF FACT

         Mr. Rosas-Barrientos is presently charged by Indictment with conspiracy to

distribute 500 grams or more of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B) and 846. This charge carries with it a mandatory minimum penalty of ten
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years imprisonment and also triggers a rebuttable presumption of detention pursuant to 18

U.S.C. § 3142.

       According to the bond report, it appears Mr. Rosas-Barrientos is presently without

legal authority to be in the United States. He also has significant family ties in Mexico. He

was unable to provide contacts to the Pretrial Services Officer to verify his biographical

information. The bond report recommends detention.

       Based on the colloquy that took place at the initial appearance, the Court finds that

Mr. Rosas-Barrientos made a knowing and voluntary waiver of his right to a detention

hearing.

                                       DISCUSSION

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. United

States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846,

848 (8th Cir. 1986). Under 18 U.S.C. § 3142(e)(3)(A), given the charge in this case under

the Controlled Substances Act, a rebuttable presumption arises that “no condition or

combination of conditions will reasonably assure the appearance of the person as required

and the safety of the community.”

       In light of Mr. Rosas-Barrientos’ waiver, which necessarily carries with it a failure

to rebut the presumption of detention, as well as the information contained in the bond

report, the Court finds that there is no condition or combination of conditions that will

reasonably assure Mr. Rosas-Barrientos’ future appearance or the safety of the community

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if he were released pending the resolution of the criminal charges against him.

Accordingly, the Court will order him detained. If in the future Mr. Rosas-Barrientos

believes that changed circumstances warrant reopening the issue of detention under the

relevant legal standards, he may file an appropriate motion with the Court.

                                      CONCLUSION

       Accordingly, IT IS HEREBY ORDERED that:

       1.      The motion of the United States for detention of Mr. Rosas-Barrientos is

granted;

       2.      Mr. Rosas-Barrientos is committed to the custody of the United States

Marshals for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal;

       3.      Mr. Rosas-Barrientos shall be afforded reasonable opportunity to consult

privately with his lawyer; and

       4.      Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which Mr. Rosas-Barrientos is confined shall deliver

him to the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: August 15, 2022                     s/ John F. Docherty
                                           John F. Docherty
                                           United States Magistrate Judge




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